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11

12   Attorneys for SLF Fire Victim Claimants
13                       UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF CALIFORNIA
14                            SAN FRANCISCO DIVISION
15   In re                                        )    Case No. 19-30088 (DM)
16   PG&E CORPORATION,                            )
                                                  )    Chapter 11
17           and                                  )
18   PACIFIC GAS AND ELECTRIC                     )    (Lead Case–Jointly Administered)
     COMPANY                                      )
19                                                )    JOINDER BY THE SINGLETON
                        Debtors                   )    LAW FIRM FIRE VICTIM
20
                                                  )    CLAIMANTS IN THE
21   Affects:                                     )
22
         PG&E Corporation                         )    1. MEMORANDUM OF POINTS
         Pacific Gas & Electric Company           )    AND AUTHORITIES IN SUPPORT
23       Both Debtors                             )    OF OPPOSITION TO DEBTORS'
24                                                )    MOTION RE INVERSE
     * All papers shall be filed in the Lead      )    CONDEMNATION FILED BY
25   Case,                                        )    INDIVIDUAL FIRE VICTIM
26
       No. 19-30088 (DM).                         )    CREDITORS (Docket No. 4768); and
                                                  )
27
                                                  )    2. RESPONSE BRIEF OF THE
28                                                )    OFFICIAL COMMITTEE OF TORT

                                                      1
 Case: 19-30088    Doc# 4805    Filed: 11/18/19       Entered: 11/18/19 19:03:48   Page 1 of
                                            2
 1                                               CLAIMANTS CONCERNING THE
 2                                               APPLICABILITY OF INVERSE
                                                 CONDEMNATION (Docket No. 4773)
 3

 4                                               Date:       November 19, 2019
                                                 Time:       10:00 a.m. (Pacific)
 5                                               Place:      United States Bankruptcy
 6                                               Court:      Courtroom 17, 16th Floor
                                                             San Francisco, CA 94102
 7

 8         The Singleton Law Firm (SLF), on behalf of fire victim claimants, hereby join
 9   the Individual Fire Victim Creditors Memorandum of Points and Authorities in
10   Support of Opposition to Debtor's Motion re Inverse Condemnation (Docket No.
11   4768) filed on November 15, 2019, and the Response Brief of the Official Committee of
12   Tort Claimants Concerning the Applicability of Inverse Condemnation (Docket No.
13   4773) filed on November 15, 2019.
14

15                                        Respectfully submitted,
16   Dated: November 18, 2019               MARSHACK HAYS LLP
17
                                            By: /s Richard A. Marshack
18
                                                RICHARD A. MARSHACK
19                                              DAVID A. WOOD
                                                LAILA MASUD
20                                              Attorneys for SLF CLAIMANTS

21   Dated: November 18, 2019               SINGLETON LAW FIRM, APC

22                                          By: /s Gerald Singleton
23                                              Gerald Singleton
                                                Gary LoCurto
24                                              Attorneys for the Singleton Law
25                                              Firm Fire Victim Claimants
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 Case: 19-30088   Doc# 4805   Filed: 11/18/19   Entered: 11/18/19 19:03:48   Page 2 of
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